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  6
                                  UNITED STATES DISTRICT COURT
  7
  8                            CENTRAL DISTRICT OF CALIFORNIA

  9   THERESA BROOKE, a married woman
      dealing with her sole and separate claim,      Case No:
 10
 11                           Plaintiff,             VERIFIED COMPLAINT
 12   vs.                                            (JURY TRIAL DEMANDED)
 13
      WHB BILTMORE LLC, a Delaware
 14   limited liability company,
 15
                              Defendant.
 16
             Plaintiff alleges:
 17
                                               PARTIES
 18
             1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
 19
      and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
 20
      the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
 21
      California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
 22
      to the loss of a leg.
 23
             2.      Defendant, WHB Biltmore LLC, owns and/or operates and does business
 24
      as the hotel Millenium Biltmore Hotel Los Angeles located at 506 South Grand
 25
      Avenue, Los Angeles, California 90071. Defendant’s hotel is a public accommodation
 26
      pursuant to 42 U.S.C. § 12181(7)(A), which offers public lodging services. On
 27
      information and belief, Defendant’s hotel was built or renovated after March 15, 2012.
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  1                                          JURISDICTION
  2          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
  3   U.S.C. § 12188.
  4          4.     Plaintiff’s claims asserted herein arose in this judicial district and
  5   Defendant does substantial business in this judicial district.
  6          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
  7   in that this is the judicial district in which a substantial part of the acts and omissions
  8   giving rise to the claims occurred.
  9          6.     Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
 10   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
 11   decline jurisdiction.
 12                                          ALLEGATIONS
 13          7.     Plaintiff alleges that Defendant’s hotel does not have a compliant access
 14   aisle at the passenger loading zone adjacent to the hotel lobby in violation of Sections
 15   209 and 503 of the 2010 Standards. An access aisle has specific requirements to be
 16   compliant with the Standards: It must be (1) 60 inches wide and at least 20 feet long, (2)
 17   it must have an accessible route adjoining it, and (3) it cannot be within a vehicular
 18   way. Section 503.3.
 19          8.     The requirement for an access aisle at a passenger loading zone is
 20   immensely important for a person in a wheelchair such as Plaintiff, as it provides safe
 21   access to the entry of the hotel and deters others from placing encumbrances or
 22   obstacles there such as a vehicle parking. An access aisle is akin to a cross-walk for
 23   pedestrians. Absence of an access aisle where required creates dangerous conditions for
 24   a person in a wheelchair such as Plaintiff.
 25          9.     Plaintiff formerly worked in the hospitality industry. She and her husband
 26   are avid travelers to California for purposes of leisure travel and to “test” whether
 27   various hotels comply with disability access laws. Testing is encouraged by the Ninth
 28   Circuit.


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  1          10.    Plaintiff traveled to Los Angeles in late October 2023 for testing ADA
  2   compliance and court appearances. She anticipates lodging at and has concrete plans to
  3   lodge at Defendant’s hotel in May 2024, but if she arrives in May, and Defendant has
  4   not remediated, she will not honor the reservation.
  5          11.    During this trip, Plaintiff personally visited Defendant’s hotel.
  6   Defendant’s hotel has a passenger loading zone because pickup and dropoff occurs
  7   there and it is located directly outside of the lobby entrance. There are also other design
  8   features showing an intent for utilization as a passenger loading zone. For example,
  9   there is a large sign indicating “Hotel Guest Dropoff / Pickup area.” According to the
 10   U.S. Access Board Technical Guidelines on Passenger Loading Zones, passenger
 11   loading zones are so common at hotels that even it recognizes “many hotel entrances”
 12   have the design features indicating an intent to utilize as PLZs.
 13          12.    While at Defendant’s hotel, she discovered that Defendant’s hotel has a
 14   barrier to entry to the lobby, which is that the passenger loading zone does not have an
 15   access aisle compliant with Section 503.3. It is an absolute requirement to have an
 16   access aisle at a passenger loading zone pursuant to Sections 209 and 503. The
 17   requirement of an access aisle at a passenger loading zone relates to Plaintiff’s
 18   disability of not having one leg and being forced to use a wheelchair because access
 19   aisles are required so persons in a wheelchair can maneuver without threat of danger
 20   from other vehicles and without other encumbrances obstructing their pathway. The
 21   lobby, therefore, is inaccessible to Plaintiff by way of the passenger loading zone
 22   because there is no access aisle.
 23          13.    Additionally, Defendant’s hotel provides for valet parking in the
 24   passenger loading zone area. Section 209.4 of the Standards requires a mandatory
 25   access aisle where valet parking services are provided, but Defendant does not provide
 26   for an access aisle as indicated above. Accordingly, Defendant also violates Section
 27   209.4 because it provides for valet but does not provide for an access aisle.
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  1          14.    Plaintiff gained actual and personal knowledge of a barrier while visiting
  2   Defendant’s hotel (no access aisle at passenger loading zone), and as a result, she was
  3   deterred from entering the hotel both from the barrier and due to the lack of equality.
  4   She anticipates returning to this hotel and has concrete plans to do so in May 2024 (see
  5   above), but she will only lodge at the hotel if Defendant puts the required access aisle
  6   into place. Visiting otherwise would be futile because the lack of the access aisle
  7   represents a barrier to entering the lobby.
  8          15.    It is readily achievable and inexpensive to modify the hotel to provide an
  9   access aisle, which involves painting and measuring tools.
 10          16.    Without injunctive relief, Plaintiff and others will continue to be unable to
 11   independently use Defendant’s hotel in violation of her rights under the ADA.
 12                                   FIRST CAUSE OF ACTION
 13          17.    Plaintiff incorporates all allegations heretofore set forth.
 14          18.    Defendant has discriminated against Plaintiff and others in that it has
 15   failed to make its public lodging services fully accessible to, and independently usable
 16   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
 17   121282(b)(2)(iv) and the 2010 Standards, as described above.
 18          19.    Defendant has discriminated against Plaintiff in that it has failed to
 19   remove architectural barriers to make its lodging services fully accessible to, and
 20   independently usable by individuals who are disabled in violation of 42 U.S.C.
 21   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
 22   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
 23   services nor result in an undue burden to Defendant.
 24          20.    In violation of the 2010 Standards, Defendant’s hotel passenger loading
 25   zone does not have a disability access aisle compliant with Section 503.3 of the
 26   Standards.
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  1          21.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
  2   as described above, is readily achievable by the Defendant. Id. Readily achievable
  3   means that providing access is easily accomplishable without significant difficulty or
  4   expense.
  5          22.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
  6   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
  7          23.      Without the requested injunctive relief, Defendant’s non-compliance with
  8   the ADA’s requirements that its passenger loading zone be fully accessible to, and
  9   independently useable by, disabled people is likely to recur.
 10          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 11                a. Declaratory Judgment that at the commencement of this action Defendant
                      was in violation of the specific requirements of Title III of the ADA
 12                   described above, and the relevant implementing regulations of the ADA;
 13
                   b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
 14                   36.504(a) which directs Defendant to take all steps necessary to bring its
 15                   passenger loading zone into full compliance with the requirements set
                      forth in the ADA;
 16
                   c. Payment of costs and attorney’s fees;
 17
 18                d. Provision of whatever other relief the Court deems just, equitable and
                      appropriate.
 19
                                      SECOND CAUSE OF ACTION
 20
 21      24. Plaintiff incorporates all allegations heretofore set forth.

 22          25.      Defendant has discriminated against Plaintiff and others in that it has

 23   failed to make its public lodging services fully accessible to, and independently usable

 24   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §

 25   121282(b)(2)(iv) and the 2010 Standards, as described above.

 26          26.      Defendant has discriminated against Plaintiff in that it has failed to

 27   remove architectural barriers to make its lodging services fully accessible to, and

 28   independently usable by individuals who are disabled in violation of 42 U.S.C.


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  1   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
  2   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
  3   services nor result in an undue burden to Defendant.
  4          27.      In violation of the 2010 Standards, Defendant’s hotel valet parking area
  5   does not have a disability access aisle compliant with Section 209.4 of the Standards.
  6          28.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
  7   as described above, is readily achievable by the Defendant. Id. Readily achievable
  8   means that providing access is easily accomplishable without significant difficulty or
  9   expense.
 10          29.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
 11   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
 12          30.      Without the requested injunctive relief, Defendant’s non-compliance with
 13   the ADA’s requirements that its valet parking area be fully accessible to, and
 14   independently useable by, disabled people is likely to recur.
 15          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 16                a. Declaratory Judgment that at the commencement of this action Defendant
                      was in violation of the specific requirements of Title III of the ADA
 17                   described above, and the relevant implementing regulations of the ADA;
 18
                   b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
 19                   36.504(a) which directs Defendant to take all steps necessary to bring its
 20                   valet parking area into full compliance with the requirements set forth in
                      the ADA;
 21
                   c. Payment of costs and attorney’s fees;
 22
 23                d. Provision of whatever other relief the Court deems just, equitable and
                      appropriate.
 24
                                        THIRD CAUSE OF ACTION
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 26          31.      Plaintiff realleges all allegations heretofore set forth.
 27          32.      Defendant has violated the Unruh by denying Plaintiff equal access to its
 28   public accommodation on the basis of her disability as outlined above.


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  1          33.      Unruh provides for declaratory and monetary relief to “aggrieved
  2   persons” who suffer from discrimination on the basis of their disability.
  3          34.      Plaintiff has been damaged by the Defendant’s non-compliance with
  4   Unruh.
  5          35.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
  6   relief as the Court considers appropriate, including monetary damages in an amount of
  7   $4,000.00, and not more.
  8          36.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
  9   amount to be proven at trial.
 10          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 11                a. Declaratory Judgment that at the commencement of this action Defendant
                      was in violation of the specific requirements of Unruh; and
 12
 13                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                      36.504(a) which directs Defendant to take all steps necessary to bring its
 14                   passenger loading zone into full compliance with the requirements set
 15                   forth in the ADA;

 16                c. Payment of costs and attorney’s fees;
 17                d. Damages in the amount of $8,000.00; and
 18
                   e. Provision of whatever other relief the Court deems just, equitable and
 19                   appropriate.
                                      DEMAND FOR JURY TRIAL
 20
             Plaintiff hereby demands a jury trial on issues triable by a jury.
 21
 22
             RESPECTFULLY SUBMITTED this 1st day of November, 2023.
 23
 24                                                /s/ P. Kristofer Strojnik
                                                   P. Kristofer Strojnik (242728)
 25                                                Attorneys for Plaintiff
 26
                                              VERIFICATION
 27
             I declare under penalty of perjury that the foregoing is true and correct.
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  1                    DATED this 1st day of November, 2023.
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  5              ______________________
                 Theresa Marie Brooke
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